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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 TIKTOK, INC., et al.,

                Plaintiffs,

        v.                                                     No. 1:20-cv-2658 (CJN)

 DONALD J. TRUMP, in his official.
 capacity as President of the United States,
 et al.,

                Defendants.


  REQUEST OF THE REPORTERS COMMITTEE FOR FREEDOM OF THE PRESS
     FOR A PUBLIC DIAL-IN FOR THE SEPTEMBER 27, 2020 HEARING ON
       PLAINTIFFS’ APPLICATION FOR PRELIMINARY INJUNCTION

       The Reporters Committee for Freedom of the Press (the “Reporters Committee”)

respectfully requests that the Court provide a public dial-in number or other means for members

of the press and the public to contemporaneously listen to the telephonic hearing on Plaintiffs’

Application for a Preliminary Injunction in the above-captioned matter, which is scheduled for

tomorrow, September 27, 2020, at 9:30am (the “Preliminary Injunction Hearing”).

       Undersigned counsel for the Reporters Committee contacted counsel for Plaintiffs and

Defendants via email on September 26, 2020 to ascertain the parties’ position(s) on this request.

Counsel for Defendants stated their position as follows: “The Government does not oppose

providing a public means of access for addressing the unsealed matters in this case, but defers to

the Court on whether that is logistically feasible in these emergency proceedings.” Plaintiffs’

counsel did not respond prior to the filing of this request.



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       Plaintiffs’ challenge to the legality of the government’s attempt to ban TikTok—a

popular mobile video app with a reported 100 million active users in the United States1—is a

matter of intense public interest and concern. Journalists and news organizations reported

extensively on President Donald J. Trump’s August 6, 2020 executive order “Addressing the

Threat Posed by TikTok,”2 and have covered this lawsuit since it was filed on September 18,

2020.3 Members of the press—and the public—have a strong interest in listening, in real time, to

the parties’ arguments, as well as any rulings issued or other actions taken by the Court at

tomorrow’s Preliminary Injunction Hearing.

       There is a “strong presumption in favor of public access to judicial proceedings” in civil

cases. Metlife, Inc. v. Fin. Stability Oversight Council, 865 F.3d 661, 665 (D.C. Cir. 2017). It

does not appear from the public docket that any party has sought sealing or closure of the

Preliminary Injunction Hearing, or proffered any reasons therefore. Nor does it appear that the




1
  Alex Sherman, TikTok reveals detailed user numbers for the first time, CNBC (Aug. 24, 2020),
https://www.cnbc.com/2020/08/24/tiktok-reveals-us-global-user-growth-numbers-for-first-
time.html.
2
 See, e.g., Rachel Lerman, Trump issues executive orders against TikTok and WeChat, citing
national security concerns, Wash. Post (Aug. 7, 2020),
https://www.washingtonpost.com/technology/2020/08/06/trump-tiktok-executive-order/; Matt
O’Brien, TikTok and its employees prepare to fight Trump over app ban, Associated Press (Aug.
13, 2020), https://apnews.com/article/technology-lawsuits-politics-business-national-security-
c0cb5a454a5bc8bb9719ffaf6364e026.
3
 See, e.g., Bobby Allyn, TikTok: Even a Temporary Ban Could Make 90% Of Users Quit The
App, National Public Radio (Sept. 23, 2020), https://www.npr.org/2020/09/23/916206862/tiktok-
even-a-temporary-ban-could-make-90-of-users-quit-the-app; Mike Isaac, TikTok Files for
Injunction to Stop Ban of App, N.Y. Times (Sept. 23, 2020),
https://www.nytimes.com/2020/09/23/technology/tiktok-injunction-ban-app.html.



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Court has made findings of a countervailing or compelling interest that would necessitate sealing

or closure of the Preliminary Injunction Hearing, in whole or in part.4

       Accordingly, and especially in light of the strong public interest in this matter, the

Reporters Committee respectfully requests that the Court provide a public dial-in number, or

other means for contemporaneous, remote public access, for tomorrow’s telephonic Preliminary

Injunction Hearing. The Reporters Committee further requests that such information be posted

on the Court’s public docket in the above-captioned matter.


Dated: September 26, 2020                             Respectfully Submitted,

                                                      /s/ Katie Townsend
                                                      Katie Townsend, DC Bar No. 1026115
                                                      THE REPORTERS COMMITTEE FOR
                                                        FREEDOM OF THE PRESS
                                                      1156 15th St. NW, Suite 1020
                                                      Washington, DC 20005
                                                      Phone: 202.795.9300
                                                      Facsimile: 202.795.9310
                                                      Email: ktownsend@rcfp.org

                                                      Counsel for the Reporters Committee for
                                                      Freedom of the Press




4
  On September 25, 2020, the government filed a Motion for Leave to File Under Seal its
Opposition to Plaintiffs’ Motion for a Preliminary Injunction, ECF. No. 20, which was granted
by the Court. That motion did not seek closure or sealing of the Preliminary Injunction Hearing.
Moreover, later that same day, the government filed on the public docket a redacted version of
its opposition, including exhibits. ECF No. 22. As a result of that filing, the vast majority of the
government’s opposition, including exhibits, is now public. Plaintiffs’ Motion for a Preliminary
Injunction, including exhibits, is entirely public. See ECF No. 15.

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                             CERTIFICATE OF SERVICE

       I hereby certify that the foregoing REQUEST OF THE REPORTERS COMMITTEE
FOR FREEDOM OF THE PRESS FOR A PUBLIC DIAL-IN FOR THE SEPTEMBER
27, 2020 HEARING ON PLAINTIFFS’ APPLICATION FOR PRELIMINARY
INJUNCTION was filed with the Clerk of Court using the CM/ECF system, and electronically
served on counsel of record for all parties via the CM/ECF system.

Dated: September 26, 2020.


                                            /s Katie Townsend
                                               Katie Townsend




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